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          EXHIBIT 18
10/9/2018
                    CaseHuffPost Live on Twitter: "Enjoy this MEmoji gif taken by @joshzepps on set with @howiemandel! http://t.co/ihr9zR6Hvw"
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       New York, NY

       huffingtonpost.com/section/vide
        o

       Joined April 2011




                 9:49 AM - 24 Oct 2014


                 2 Retweets 4 Likes


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https://twitter.com/HuffPostVideo/status/525690511361712129                                                                                      1/1




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10/8/2018        Stern Show on Twitter: "ICYMI: Here's #MEmoji, the awesome new app @HowieMandel talked about this week! https://t.co/DcNrCsgo6i …
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   FACEBOOK: bit.ly/1JOTp4a
   INSTAGRAM: bit.ly/2jt8hvI

       New York, NY

       howardstern.com

       Joined April 2009




                  9:02 AM - 24 Oct 2014


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https://twitter.com/sternshow/status/525678622237945856                                                                                        1/1




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https://www.adweek.com/tv-video/howie-mandel-watches-literally-everything-tv-161635/                1/3




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https://www.adweek.com/tv-video/howie-mandel-watches-literally-everything-tv-161635/                2/3




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10/1/2018                                     Howie Mandel: No selfies, but how about an 'ussie'?
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             Howie Mandel: No selfies, but how about an 'ussie'?
             Jefferson Graham, USA TODAY        Published 12:52 a.m. ET Nov. 3, 2014 | Updated 12:01 p.m. ET Nov. 4, 2014



                                                  LOS ANGELES — Comedian Howie Mandel is swimming in cameras. The executive producer of TBS' hidden
                                                  camera series Deal with It (new episodes air Fridays at 9 p.m.) talks of using as many as 15 to 20 iPhones,
                                                  iPads, Canon 5Ds and GoPro cameras behind closed doors to catch the action without his subjects realizing
                                                  they are being taped. So when we showed him the latest GoPro attachment — a headband — he obliged and
                                                  posed with the miniature camera. "Is it obvious?" he asked. Well, yes, but that's OK.

                                                  HIDDEN CAMERAS
             (Photo: Jefferson Graham)
                                                  On the original hidden camera show, Candid Camera, producer Allen Funt "had one camera and it was rooted
 wherever he was. Technology has allowed me to capture more, clearer. We can put cameras all over, and no one knows they are there. We can walk in,
 and nobody knows they're being recorded."


 Mandel's son Alex is also into pranks and shows them on YouTube, where his antics (making escalators come to a sudden stop in a shopping mall,
 dressing up as a werewolf and approaching strangers) have pulled in over 500,000 views. Alex Mandel shoots with the Canon 5D Mark III, and so
 impressed his dad that he was inspired to buy one for his TV show.


 "It was a game changer, because it looked like a still camera you could walk with and nobody knew they were being taped — at broadcast quality."


 The second game changer, he says, is the tiny GoPro, the miniature camera favored by action enthusiasts, who attach it to surfboards, bike helmets and
 the like.


 Beyond those cameras, there's also the most popular mobile device, the iPhone. "We can hand it to someone, call and send texts, manipulate scenes
 wirelessly. Our crew will go film on iPhones, iPads, anything. Technology is great."




             Howie Mandel tries on a GoPro. (Photo: Sean Fujiwara)




 TECH INVESTOR
https://www.usatoday.com/story/tech/columnist/talkingtech/2014/11/03/howie-mandel-the-tech-mogul/18235747/                                                      1/3




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10/1/2018                                                  Howie Mandel: No selfies, but how about an 'ussie'?
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 Mandel is backing two new apps, MeMoji (https://itunes.apple.com/us/app/memoji-gif-selfies-emoji-accessories!/id921847909?mt=8), which is out, and
 Uguru, which has yet to be released.

 "What are the two biggest things online? Selfies and emojis. We're combining them. Instead of sending some character that means nothing with a hat —
 what if it was your face doing something? Me-moji."




           MeMoji is a new app backed by Howie Mandel (Photo: screenshot)




 The Uguru app is described as "Uber for tutors." It's for finding local tutors from one central location, instead of searching on Craigslist. "You have a
 question, they come to you and answer for a nominal fee."

 SELFIES vs. USSIES


 As a stand-up comic, Mandel gets many requests for photos with fans after the shows, or as they describe them, "selfies." He doesn't get it.

 "A selfie is a picture of yourself. As soon as someone else is in it, it's an 'ussie.' It's a selfie plus someone else. If you just want a selfie, I can't be in your
 selfie. I can be in your ussie."


 APPS

 His favorite is the MyFitnessPal calorie and nutrition tracker (free; Apple, Android, Windows, BlackBerry).


 "I've been on it for three years, and I'm crazy about it. It's about keeping my wheel right. I'm not on a diet, but want to make sure I have the right amount
 of protein, carbs and fat." (The app) "is a miracle.




https://www.usatoday.com/story/tech/columnist/talkingtech/2014/11/03/howie-mandel-the-tech-mogul/18235747/                                                           2/3




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10/1/2018                                   Howie Mandel: No selfies, but how about an 'ussie'?
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            Jefferson Graham and Howie Mandel shooting an "ussie," on an iPhone. (Photo: Sean Fujiwara)




 Follow Jefferson Graham (http://twitter.com/jeffersongraham)on Twitter



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